          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 1 of 57



      I N T HE UN IT ED ST AT ES WEST ERN D I ST RI CT O F T EXAS
                       SAN AN T ON I O DI VI SI O N

(1 ) D AL I A L O O KIN G BI L L,               §
I N D I VID U AL L Y,                           §
(2 ) D AL I A L O O KIN G BI L L AS             §
G U ARD I AN OF THE P ERS O N AN D              §
EST AT E O F R. T ., A MI N O R , (3 )          §
D AL I A L O O KI N GBI L L AS                  §
REP RESEN T AT I VE O F T H E EST ATE           §
O F E. G . , D ECEASED MI N O R ,               §
Plaintiffs                                      §
                                                §
v.                                              §
                                                §
U N IT ED ST AT ES O F AME RI CA ,              §
Defendant                                       §
                                                §
                                                §      N O : _________
                                                §
                                                §
                                                §



                PLAINTIFF S’ O RIGINAL COMPLAINT

      This case arises out of negligence by the United States of America and its

agencies causing the massacre at Sutherland Springs First Baptist Church on

November 5, 2017. Plaintiffs bring this Complaint under the Federal Tort Claims

Act, 28 U.S.C. § 2674 against the United States of America and would respectfully

show the following.




                                       1
               Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 2 of 57



                                         TABLE OF CONTENTS

I.    PARTIES .............................................................................................................. 4

II.   BACKGROUND ................................................................................................... 4
            A. Congress passed key legislation to prevent shootings
               like the Sutherland Springs shooting. ........................................................4
            B. Congress, the Department of Defense, and the Air Force
               voluntarily undertook a non-delegable duty to report
               convictions for domestic violence, incarceration for a
               crime punishable by more than one year, and mental
               institution commitment. ................................................................................8
            C. The Department of Defense and Air Force knew that it
               was not reliably collecting and reporting fingerprints
               and final disposition information to the FBI. .........................................12


III. DEVIN KELLEY ................................................................................................ 14
            A. The Air Force knew Devin Kelley’s violent history. ..............................14
            B. The Air Force commits Devin Kelley to a mental health
               facility. ............................................................................................................22
            C. The Air Force charges and convicts Devin Kelley of
               domestic violence, resulting in his incarceration for a
               crime punishable by more than one year. ...............................................25
            D. Kelley commits a mass shooting at the Sutherland
               Springs First Baptist Church on November 5, 2017. ..............................30


IV. AIR FORCE’S COMISSIONS & OMISSIONS .............................................. 32
            A. The Air Force missed multiple opportunities to provide
               Devin Kelley’s fingerprint cards and final disposition
               reports to the FBI .........................................................................................32
            B. Systematic failures in operations, organization, hiring,
               training, and supervision caused the Air Force’s failure
               to collect, maintain, and submit Devin Kelley’s
               fingerprint cards and final disposition reports to the
               FBI....................................................................................................................36
                                                                 2
               Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 3 of 57



V.     CAUSES OF ACTION ....................................................................................... 40
            A. Negligence ......................................................................................................40
            B. Negligent Failure to Train & Supervise ...................................................43
            C. Negligent Undertaking ................................................................................44
            D. Negligence Per Se..........................................................................................47

VI. CAUSATION ...................................................................................................... 48
            A. The Department of Defense and Air Force’s negligence
               caused injuries to the Plaintiffs. ................................................................48
            B. Had the Air Force reported Kelley’s history, the FBI’s
               Instant Criminal Background Check System would have
               blocked Devin Kelley’s firearm purchase. ...............................................50


VII.     DAMAGES ....................................................................................................... 51

VIII. JURISDICTION, VENUE, & SERVICE ...................................................... 53

IX.      LIABILITY OF THE UNITED STATES ...................................................... 54

X.       JURISDICTIONAL ALLEGATIONS ........................................................... 55

XI.      CONCLUSION ................................................................................................ 56




                                                               3
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 4 of 57



                                  I. PARTIES

   1.1   Defendant is the United States of America.

   1.2   Plaintiff Dalia Lookingbill is a resident of Bexar County, Texas. Dalia

Lookingbill is the mother of Joann Ward, who died in the shooting, and maternal

grandmother of R.T. and E.G., Ms. Joann Ward’s daughters. Dalia Lookingbill is

currently the guardian of the person and estate of R.T., a minor who survived the

shooting. Dalia Lookingbill is the personal representative of the estate of E.G., a

deceased minor who died in the shooting incident.

   1.3   At the time of their death Joann Ward and E.G. were residents of Wilson

County, Texas.



                              II. BACKGROUND

 A.   Congress passed key legislation to prevent shootings like the
      Sutherland Springs shooting.

   2.1   Through several pieces of legislation spanning almost 30 years, Congress

acted to block individuals who present a known risk of violence from purchasing

firearms. To that end, Congress mandated that certain individuals must be flagged

in an instant criminal background check system used by firearms sellers nationwide

in the interest of public safety. The Air Force and Department of Defense ignored

three statutory mandates that required Devin Kelley’s entry into the background

check system: his domestic violence conviction, his conviction for a crime punishable

by imprisonment for over a year, and his commitment to a mental institution. As a

                                         4
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 5 of 57



direct result of the Air Force and Department of Defense’s failure to flag Kelley in the

FBI database, his domestic violence escalated into a murderous shooting rampage

targeting his ex-wife’s family and neighbors at the Sutherland Springs First Baptist

Church on November 5, 2017.

   2.2    Federal law makes it unlawful to sell a firearm to a person whom the seller

knows or has reasonable cause to believe is someone who (a) has been convicted of a

misdemeanor crime of domestic violence; (b) has been convicted of a crime punishable

by imprisonment for longer than a year; or (c) has been committed to any mental

institution. 18 U.S.C. § 922(d)(1), (4), (9). These categories of individuals are

forbidden from possessing firearms. Id. § 922(g).

   2.3    Congress attempted to quell the dangers presented by mass shooters like

Devin Kelley before he was even born. Initially passed as the Gun Control Act of 1968,

the law banned the sale of firearms to those individuals with criminal histories and

those individuals who have been committed to mental institutions.

   2.4    In 1993, Section 103 of the Brady Handgun Violence Prevention Act

required the Attorney General of the United States to establish an instant criminal

background check system that a firearm seller must use to determine whether the

sale of the firearm violates 18 U.S.C. § 922. Under 18 U.S.C. § 922(t), a licensed dealer

of firearms shall not sell or transfer to any person without first contacting the

national instant criminal background check system.




                                           5
              Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 6 of 57



      2.5    Congress passed the Brady Bill to prevent shootings just like the

Sutherland Springs shooting. When the Brady Bill was introduced in the House, one

of the Bill’s sponsors explained that express purpose:

                Mr. Speaker, I rise to strongly support today’s introduction
                of the Brady bill. Five years ago, a man named Larry Dale
                walked into Mercer’s Discount Foods in Tulsa, OK, and
                opened fire on an unsuspecting crowd of shoppers. Dale’s
                rampage killed one person and severely wounded another.
                Many Oklahomans were outraged to learn that Dale, a
                convicted felon with a history of mental illness, had walked
                into a gun store the day before his crime, filled out a single
                form, and walked out with his instrument of death. The
                tragedy is that 5 years after Larry Dale proved how flawed
                the system is, the Brady Bill is not the law of the land.1

      2.6    When the Brady Bill went to committee, the Chairman’s opening statement

in the House Subcommittee hearings noted that the Brady Bill would effectively

prevent barred individuals from purchasing firearms:

                We are meeting today to consider a bill whose time has
                come-the Brady Handgun Violence Prevention Act . . . .

                There is nothing complicated about this bill. . . . It will save
                lives. The Brady bill will save lives that are being wasted
                in an epidemic of handgun violence from Brooklyn to
                Florida and all across America. And that is not theory, that
                is fact.

                After Brady passes, a convicted felon will no longer be able
                to walk into a gun store, as thousands have done this year,
                and walk out 10 minutes later with a murder weapon.


1   Congressional Record, House, at H731 (Feb. 22, 1993).


                                               6
              Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 7 of 57



                State after State has shown that waiting periods and
                background checks work.2

      2.7   The committee issued the House Committee Report. Under the heading

“Summary and Purpose,” the committee reported:

                The purpose of H.R. 1025 is to prevent convicted felons and
                other persons who are barred by law from purchasing guns
                from licensed gun dealers, manufacturers or importers.

The House report underscored that background checks are necessary to prevent

violent offenders from gaining access to firearms:

                The experiences of States which require background checks
                before firearm sales also indicate that many repeat
                offender criminals buy guns directly from firearms dealers.
                For example, in California, a background check intercepted
                2,500 felons attempting to buy guns from dealers last year.
                . . . . Each year in Illinois some 3,000 prohibited persons
                seek to purchase firearms and are denied. 3

      2.8   In 1996, the Domestic Violence Offender Gun Ban, also referred to as the

“Lautenberg Amendment,” made it unlawful to sell firearms to anyone convicted of a

misdemeanor crime of domestic violence. Congress enacted the Domestic Violence

Offender Gun Ban to “close [a] dangerous loophole” in the gun control laws: while




2   Brady Handgun Violence Protection Act, hearing before the Subcommittee on Crime and
      Criminal Justice of the House Judiciary Committee (Sept. 30, 1993).
3   H. Rep. No. 103-344, Brady Handgun Violence Prevention Act (Nov. 10, 1993).


                                              7
              Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 8 of 57



felons had long been barred from possessing guns, many perpetrators of domestic

violence are convicted only of misdemeanors.4

      2.9    In abusive relationships, the severity of domestic violence often increases

over time, and the presence of a firearm increases the likelihood of homicide. 5

Congress recognized that “[f]irearms and domestic strife are a potentially deadly

combination.”6 As one Senator noted during the debate over § 922(g)(9), “[A]ll too

often, the only difference between a battered woman and a dead woman is the

presence of a gun.” 142 Cong. Rec. 22986 (1996) (statement of Sen. Wellstone).


    B.   Congress, the Department of Defense, and the Air Force voluntarily
         undertook a non-delegable duty to report convictions for domestic
         violence, incarceration for a crime punishable by more than one
         year, and mental institution commitment.

     2.10    Federal law requires Government agencies to report ineligible firearm

purchasers to a national database. Specifically, 34 U.S.C. § 40901(e)(1)(C) states that

federal agencies that have “any record of any person demonstrating” that the person

should not be able to purchase a gun “shall, not less frequently than quarterly,

provide the pertinent information contained in such record to” the Attorney General



4   United States v. Castleman, 134 S. Ct. 1405, 1408–09 (2014) (citing United States v.
     Hayes, 555 U.S. 415, 426 (2009)).
5   See id., at 14–15; see also Campbell et al., Assessing Risk Factors for Intimate Partner
      Homicide, DOJ, Nat. Institute of Justice J., No. 250, p. 16 (Nov. 2003) (“When a gun was
      in the house, an abused woman was 6 times more likely than other abused women to be
      killed”).
6   See Voisine v. United States, 136 S. Ct. 2272 (2016) (citing Hayes, 555 U.S. at 427).
                                                 8
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 9 of 57



for the national instant criminal background check system. Section 40901(e)(1)(D)

creates an obligation on agencies to correct and update these records.

  2.11   Title 10, U.S.C. section 1562 requires that the Department of Defense

establish a central database of information on the incidents of domestic violence

involving members of the armed forces. This section also requires that all military

departments, including the Air Force, report domestic violence incidents.

  2.12   It is Department of Defense policy that all Department agencies, including

the Air Force, comply with the (a) crime reporting requirements of the Uniform

Federal Crime Reporting Act of 1988; (b) reporting requirements for victim and

witness assistance notifications of the Victim's Rights and Restitution Act of 1990,

and (c) reporting requirements of the Brady Handgun Violence Prevention Act.

  2.13   To implement these federal laws, the Department of Justice established the

National Instant Criminal Background Check System (NICS). Congress, through the

Brady Act, established the NICS Indices, which contains information provided by

federal agencies of persons prohibited from receiving firearms under federal law. The

NICS responds instantly to background check inquiries by querying the NICS

Indices, the National Crime Information Center, and the Interstate Identification

Index. The Interstate Identification Index contains biometric criminal history based

on fingerprint submission.

  2.14   The Department of Defense issued policies that required submission of

fingerprint cards and final disposition reports to the FBI for inclusion in the NICS

                                          9
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 10 of 57



database. The Department of Defense and U.S. Air Force promulgated these policies

through Department of Defense Instruction 5505.11, “Fingerprint Card and Final

Disposition Report Submission Requirements.” Instruction 5505.11 requires the

collection fingerprints and the submission criminal history to the FBI. Under this

instruction, U.S. Air Force law enforcement agents are to collect and submit

fingerprint cards when they have probable cause to believe that a person committed

a violation of a crime that would make the ineligible to obtain a firearm. In addition,

final disposition reports must be submitted to the FBI upon final disposition of the

offense.

  2.15     Department of Defense Manual 7730.47-M Volume 1, Enclosure 3,

prescribes the reporting data elements needed to comply with Federal criminal

incident reporting pursuant to federal law. Enclosure 3 states the Defense Incident-

Based Reporting System:

             shall be used to centralize the collection of information that
             is reportable by the DoD Components pursuant to The
             Brady Handgun Violence Prevention Act of 1993, which
             requires the Department of Defense to report these eight
             categories to the FBI for purposes of prohibiting firearm
             purchases:

             (1) Persons who have been convicted in any court of a crime
             punishable by imprisonment for a term exceeding 1 year.
             …

             (4) Persons who have been adjudicated as mental
             defectives or who have been committed to a mental
             institution. …

                                          10
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 11 of 57



             (7) Persons convicted in any court of a misdemeanor crime
             of domestic violence.

  2.16    The Air Force issued Instruction 31-206 and 31-118. Air Force policies

required that Air Force Security Forces units obtain complete sets of fingerprints on

fingerprint cards. Air Force Instructions require the submission of these fingerprint

cards and final disposition reports to the FBI. Air Force Instruction 31-205 requires

fingerprinting of all post-trial inmates during the in-processing into a confinement

facility. The Instruction also required that Air Force train its staff in in-processing

matters, including collecting and submitting fingerprint cards and final disposition

reports to the FBI.

  2.17    The Air Force also has instructions, handbooks, and manuals that provide

policy, guidance, and procedures for collecting and reporting criminal history data to

the FBI, consistent with Department of Defense policies.

  2.18    Air Force Office of Special Investigations Handbook 71-105 (“An Agent’s

Guide to Conducting and Documenting Investigations,” March 9, 2009) obliges Air

Force agents or employees to collect a subject’s fingerprints (or the electronic

equivalent) after a subject interview. The Handbook requires Detachment leadership

to review the fingerprint cards and final disposition reports for accuracy, verify the

fingerprints were acceptable, and document their review.

  2.19    Air Force Office of Special Investigations Manual 71-118, Volume 4,

(“General Investigative Methods,” April 5, 2012) requires the collection of

fingerprints from all subjects of Special Investigations after the subject interview if
                                          11
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 12 of 57



investigating the subject for violation of certain offenses, including crimes of domestic

violence. It refers Air Force agents to Department of Defense Instruction 5505.11 for

the criteria of collecting and submitting fingerprints to the FBI.

  2.20    Air Force Office of Special Investigations Manual 71-121 (“Processing and

Reporting Investigative Matters,” October 12, 2012) requires Air Force agents to

submit a subject’s fingerprints to the FBI if they have probable cause to believe the

subject of their investigation committed certain offenses, including offenses involving

domestic violence. This manual also requires agents to submit completed final

disposition reports on military members to the FBI within fifteen (15) days of

sentencing. Duplicates of these reports must be maintained in the Air Force

investigative case files. This manual further requires Detachment leadership to

review—for sufficiency—investigative files monthly from the date of the allegation

until the case is closed.


 C.    The Department of Defense and Air Force knew that it was not
       reliably collecting and reporting fingerprints and final disposition
       information to the FBI.

  2.21    The Department of Defense Inspector General conducted several

investigations that found failures in the submission of required fingerprints and final

disposition reports to the FBI throughout the Department.

  2.22    In 1997, the Inspector General found a high level of noncompliance by

Department of Defense and its agencies. For example, the Air Force failed to submit

fingerprint cards in 38% of its criminal cases and failed to submit final disposition
                                           12
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 13 of 57



reports in half of its criminal cases. The Inspector General recommended that the

Military Departments and Defense agencies develop polices and implement

procedures to correct these failures and prevent such failures from occurring in the

future. The United States Air Force agreed with the recommendation.

  2.23    In 2013, an Inspector General investigation revealed that Defense

Departments failed to collect or failed to report 20% of fingerprints in sexual assault

cases. (Report No. DoDIG-2013-091, “Evaluation of Military Criminal Investigative

Organizations’ Sexual Assault Investigations,” July 9, 2013.) Similarly, in 2014, an

Inspector General investigation revealed that Defense Departments failed to collect

or submit fingerprints to the FBI in sexual assaults of children. Also in 2014, the

Inspector General found Defense Departments failed to collect and submit

fingerprints in child death investigations. In 2015 and 2017, the Inspector General

found that Defense Departments failed to collect or submit fingerprints in

investigations of sexual assault.

  2.24    In 2015, the Inspector General issued another report (Report No. DoDIG-

2015-081, “Evaluation of Department of Defense Compliance with Criminal History

Data Reporting Requirements”).        Plaintiffs incorporate this report into their

complaint by reference. In this report, the Inspector General found that the Military

Services failed to consistently submit fingerprint cards and final disposition reports

as required. For example, the Air Force failed to submit 31% of required fingerprint

cards and 32% of final disposition reports. The Inspector General recommended that

                                          13
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 14 of 57



Air Force take prompt action to submit missing fingerprint and final disposition

reports to the FBI. The Inspector General also recommended that Air Force take

prompt action to ensure submission of fingerprint cards from future criminal

investigations and future final dispositions reports. The Air Force agreed with these

recommendations.

  2.25    A 2017 review conducted by the Inspector General (Report No. DODIG-

2018-035, “Evaluation of Fingerprint Card and Final Disposition Report Submissions

by Military Service Law Enforcement Organizations,” December 5, 2017). Plaintiffs

incorporate this report into their complaint by reference. In this report, the Inspector

General again determined that the Military Services failed to submit fingerprint

cards and final disposition reports as required.



                             III.   DEVIN KELLEY

 A.   The Air Force knew Devin Kelley’s violent history.

   3.1    Devin Kelley entered the Air Force Delayed Enlistment Program on June

12, 2009. While enlisting, Kelley lied to the Air Force about using and possessing

marijuana. On January 5, 2010, he recertified his lies about marijuana use and

possession when he entered active military service. On March 5, 2010, Kelley

graduated from basic military training.

   3.2    On April 14, 2010, the Air Force began training Kelley as a Network

Intelligence Analyst, but Kelley had academic issues. Kelley’s military training

leaders recommended Kelley for elimination from the course because he did not meet
                                       14
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 15 of 57



academic standards. The report also indicated that Kelley had several minor

disciplinary infractions.

   3.3    On December 16, 2010, the Air Force reassigned Kelley to a traffic

management career field. On January 11, 2011, the Air Force permanently changed

Kelley’s station to Holloman Air Force Base (“Holloman”). Kelley arrived at Holloman

in late April 2011. Between June 19, 2011, and March 20, 2012, he accumulated four

Memorandums for Record, four Letters of Counseling, and five Letters of Reprimand.

Kelley’s conduct included failure to obey direct orders, creating a hostile work

environment, making false statements, and insubordination of a superior officer. This

included a letter of reprimand for lying to his supervisor and for failing to report to

his duty station after being ordered to do so. In other letters, Kelley was warned that

his conduct was a criminal act. In at least three of these letters, the Air Force told

Kelley that he had proven that he could not be depended upon. In at least two of these

letters, the Air Force noted that Kelley could not always be trusted and had

demonstrated a disregard for the Air Force’s core values. The Air Force warned Kelley

that future misconduct would lead to more severe punishment.

   3.4    In February 2011, Kelley began dating Tessa K. Kelley (neé Loge). Tessa

Kelley had a child from a previous marriage. On April 12, 2011, Devin Kelley and

Tessa Kelley married.

   3.5    On June 2, 2011, Tessa Kelley took her child to William Beaumont Army

Medical Center (a facility owned and operated by an agency of the United States). A

                                          15
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 16 of 57



nursing note indicated concern for child abuse or neglect. While questioning Tessa

Kelley about her son’s injuries, Tessa Kelley stated that Devin Kelley had kicked her.

   3.6   On June 8, 2011, Devin and Tessa Kelley took the child to an ER

complaining of vomiting and falling. The physicians noticed the child had bruising on

the child’s left cheek that “appeared to be fresh and a little purple.” A CT scan

revealed a fractured clavicle and subdural hemorrhage (bleeding on the brain). After

the fact, Devin Kelley admitted to the United States Air Force that he caused these

injuries without excuse or justification. Devin Kelley produced a video confessing to

his wrongful conduct. Physicians notified the Children, Youth and Families

Department in New Mexico, who, in turn, notified the Air Force Office of Special

Investigations Detachment 225 at Holloman of the possible child abuse.

   3.7   On June 9, 2011, Air Force Special Investigations opened an investigation

for assault on a child, listing Devin Kelley as the subject. They interviewed Kelley

that day. Kelley denied striking his stepson and denied having any knowledge of

Tessa Kelley striking the son. Kelley stated that he and Tessa Kelley were the only

ones with direct access to his stepson. Kelley claimed he did not know how his stepson

received the injury to his head. Kelley suggested that his stepson received the injury

from falling on the floor while crawling or playing in his crib. At the end of the

interview, agents collected Kelley’s fingerprints and released him to his unit

representatives. Air Force agents collected Kelley’s fingerprints because they

believed probable cause existed that Kelley committed the assault on his stepson.

                                         16
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 17 of 57



However, Air Force agents did not send Kelley’s fingerprint cards to the FBI, as

required by policy.

   3.8    On June 24, 2011, Kelley’s stepson was placed in foster care because of

unexplained injuries and the suspicions of child abuse. Also on that day, Tessa Kelley

reported that Kelley had physically assaulted her by grabbing her around the throat,

choking her, and throwing her against a wall. This report was provided to Air Force

Reserve leadership and to the 49th Security Forces Squadron at Holloman Air Force

Base. The Air Force report of the incident stated that the investigation “determined

no crime had been committed and there was no evidence of any injuries to either

party.”

   3.9    On September 7, 2011, Kelley voluntarily went to the Holloman Mental

Health Clinic as a walk-in patient and stated that he was unable to cope with the

stress he was under at work. He stated that Child Protective Services was removing

his stepson from the house due to an allegation of abuse caused his stress. Kelley also

stated that his supervisor was constantly “yelling at work.” A staff psychologist wrote

in Kelley’s mental health record that treatment would concentrate on his

“anxiety/attention/occupational;   continue    to   develop   relational   and   mood

management coping skills.” The psychologist also wrote that Kelley would be seen

weekly. Between September 7, 2011, and February 22, 2012, Kelley was treated 17

times at the Holloman Mental Health Clinic. During this time, Kelley was prescribed

Atomoxetine, Ibuprofen, Albuterol, Fluticasone, and Omeprazole.

                                          17
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 18 of 57



  3.10    In a report on Kelley’s October 11, 2011, visit, a psychologist wrote that

Kelley had difficulty interacting with authority figures and that he perceived that

they were criticizing him. On January 10, 2012, the psychologist examined Kelley

again and reported that Kelley was “able to attend to and focus on pertinent material

at home and work.” The psychologist also wrote that Kelley was able to “control and

direct his energy appropriately” and that there were “no significant changes in [his]

symptoms.”

  3.11    On February 17, 2012, Tessa Kelley called the 49th Security Forces

Squadron to report that Kelley had abused her after fleeing to El Paso, Texas. Tessa

Kelley told Air Force 49th Logistics Readiness Squadron First Sergeant that Kelley’s

actions caused her to fear for her life. In response, the First Sergeant told her that

the Squadron Commander would issue Kelley a no contact order. Tessa Kelley told

the Squadron investigators that the reason she left Kelley was to get away from him

“and the abuse,” that Kelley had been physically abusing her since July 2011 and

that Kelley had choked her on multiple occasions. She stated that in one instance on

December 24, 2011, Kelley pushed her against a wall and choked her because she had

told him that she did not want to visit his family and stated, “You better pack your

bags or I’ll choke you to the ceiling and pass you out.” Tessa Kelley also said that on

another occasion, she and Kelley argued over her wanting to go for a walk at night.

This argument resulted in Kelley choking her, kicking her in the stomach, and then

dragging her by her hair into the bathroom. She said that Kelley told her “I’m going

                                          18
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 19 of 57



to water-board you” and stuck her head directly under the showerhead. Tessa Kelley

also told the investigators that Kelley emotionally and physically abused her

throughout their marriage. Tessa Kelley provided other examples of abuse, stating

that Kelley would threaten to choke her if she did not do as he said, and would slap

her, kick her, pull her hair, drag her through t heir house, and control her. She stated

that Kelley told her if she “said anything to anybody he would bury her in the desert

somewhere.” Tessa Kelley stated that the reason she had not reported the abuse

sooner was due to fear for both her life and the life of her son.

  3.12     On February 12, 2012, Air Force investigators tried to interview Devin

Kelley as a subject of their investigation into crimes of domestic violence. Kelley

requested legal counsel and did not make a statement. The 49th Security Forces

Squadron did not collect his fingerprints. Department of Defense and Air Force

policies required the collection and submission of fingerprint cards to the FBI.

  3.13     On February 21, 2012, Devin Kelley voluntarily went to the Holloman

Mental Health Clinic as a walk-in patient. He told the staff psychologist that he was

upset because his wife left him and because he believed that she told the 49th

Security Forces Squadron that he assaulted her. On February 22, 2012, Kelley

returned to the Clinic because he was still upset that his wife left him. A licensed

clinical social worker stated that Kelley told her “he would like to go to the psychiatric

hospital for help because he did not believe he could help himself on an outpatient

status.”

                                           19
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 20 of 57



  3.14    On February 23, 2012, Kelley voluntarily entered in-patient care at the

Peak Behavioral Health Services (“Peak”), where he remained until March 8, 2012.

Peak is a mental health institution. During Kelley’s intake evaluation, staff

diagnosed him as having “an adjustment disorder with depressed mood.” The staff

wrote, “The patient reported feeling suicidal with a plan to shoot himself with a gun

after his wife informed him that she was filing assault charges for an altercation that

occurred three weeks prior to admission.” Kelley told the Peak personnel that he had

frequent mood swings. Kelley also reported that he had severe anxiety. Kelley told a

clinical nurse specialist that he was diagnosed with Attention Deficit Hyperactivity

Disorder while he was in the fourth grade. He also told the staff that the Holloman

Mental Health Clinic had counseled him to help him cope with his Child Protective

Services case, his marital problems, and his alleged emotional abuse from a female

supervisor at work. During Kelley’s in-patient treatment, he was prescribed Strattera

for Attention Deficit Hyperactivity Disorder, Wellbutrin for depression, Clonazepam

for anxiety, and Ambien for insomnia.

  3.15    On March 8, 2012, the Peak discharged Kelley and told him to follow up

with the Holloman Mental Health Clinic. Between March 14, 2012, and April 26,

2012, Kelley was seen at the Clinic seven times. The Clinic had access to Kelley’s

records at Peak. The last visit to the Clinic was April 26, 2012, during which Kelley

told Clinic personnel that he was experiencing more difficulty than ever before




                                          20
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 21 of 57



because the final hearing for the adoption of his stepson was one hearing away from

resolution.

  3.16    In approximately mid-March 2012, while at their residence, Tessa Kelley

watched as Kelley put one bullet in a .38 Special revolver. Kelley then pointed the

gun at his own head and pulled the trigger three times. Kelley then pointed the gun

at Tessa Kelley and threatened her. On approximately April 23, 2012, while Tessa

Kelley and Kelley were driving to El Paso, Tessa Kelley asked Kelley to slow down.

Devin Kelley cursed at her and told her “don’t tell me how to drive.” The police later

pulled Kelley over and cited him for speeding. After receiving the ticket and

continuing to drive, Kelley blamed the ticket on Tessa Kelley and pulled the car over

again. Devin Kelley then pulled out a gun and placed the muzzle of the weapon

against her temple, stating, “Do you want to die?” Tessa Kelley pushed the gun away

and began to cry. Kelley then put the gun in his mouth and asked her why she wanted

to be with him. Kelley then told her that he had slapped her son on June 8, 2011, the

day her son was taken to the hospital. Kelley additionally stated that he had struck

his stepson on multiple occasions, the first time being in March 2011, in New

Braunfels. The Air Force became aware of these facts through Tessa Kelley in an

interview the Office of Special Investigations conducted on May 3, 2012.

  3.17    On April 27, 2012, Tessa Kelley convinced Devin Kelley to make a full video

confession. In the video, he admitted to hitting her son multiple times in frustration.

Kelley stated that this frustration would lead him to push, strike, and slap his

                                          21
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 22 of 57



stepson. Kelley also acknowledged that he caused the bruising on his stepson’s face

on June 8, 2011. Kelley further admitted that he caused his stepson’s skull injury. He

stated that he had pushed his stepson down multiple times and shook him on at least

two occasions. After completing the video, he gave it to Tessa Kelley. On April 29,

2012, Tessa Kelley provided the recording of Kelley’s confession to his First Sergeant.

The First Sergeant provided the recording to Air Force Office of Special

Investigations.


 B.   The Air Force commits Devin Kelley to a mental health facility.

  3.18    On April 29, 2012, Kelley’s chain-of-command arranged to have him

admitted back into the Peak Behavioral Health Services. On April 30, 2012, Kelley

entered Peak a second time. Kelley stated that he was going to shoot himself and

Peak staff put a high-risk notification alert on his chart due to his homicidal and

suicidal indicator.

  3.19    On May 3, 2012, Air Force agents re-interviewed Tessa Kelley. She stated

that she thought Kelley might have hurt her son, but she had not seen him do

anything to hurt her son. She stated that she began suspecting him of “injuring” her

son when Kelley started physically, verbally, and mentally abusing her. Tessa Kelley

stated that Kelley had struck, kicked, choked, and pulled her hair out on multiple

occasions. She stated that Kelley threatened to kill her if she ever reported the abuse

to police, or any other party. Additionally, Kelley had stated to her, “If the cops show

up at my door, I will shoot them.” She also said that he had told her, “My work is so

                                          22
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 23 of 57



lucky I do not have a shotgun because I would go in there and shoot everyone.” Tessa

Kelley said that on one occasion while driving, Kelley struck her in the stomach in

front of two friends, threatening to beat her if she continued speaking. In a separate

interview of other witnesses, Air Force investigators discovered that other individuals

had witnessed Kelley verbally abuse Tessa Kelley on multiple occasions. In an

interview of Tessa Kelley’s childhood friend, he stated that Tessa Kelley told him

about “all of the times” Kelley abused her. Tessa Kelley included the details of how

Kelley would “hit her in the stomach and pull her hair out” and how he attempted to

“water board” her. Tessa Kelley told her childhood friend that water boarding

consisted of Kelley pushing her head under the shower faucet and turning on the

water.

  3.20    On June 6, 2012, a Peak staff member discovered Kelley’s interest in guns.

His medical records note that Kelley’s insight and judgment are so impaired that

Kelley does not understand “how that does not look good on him.”

  3.21    While receiving inpatient care at Peak, Mr. Kelley made several threats

that if he were picked up by Security Forces, he would go for their guns. While at

Peak, Devin Kelley tried to obtain firearms and conducted research into body armor.

Mr. Kelley was trying to carry out threats he made against his chain of command. He

made these plans to purchase another firearm because his other weapons had been

confiscated by the Air Force, its agents, or contractors.




                                          23
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 24 of 57



  3.22   On June 7, 2012, Kelley left the Peak facility without permission from the

staff and without notifying anyone. On June 8, 2012, a Peak Director located Kelley

at a Greyhound bus station in El Paso. A Greyhound security officer and an El Paso

police officer handcuffed him, and police officers from the Sunland Police Department

transported him back to Peak. Kelley did not voluntarily return to Peak but was

involuntarily re-committed to Peak. On the same day, Kelley’s Commander prepared

a pretrial confinement package. The package included a memorandum stating that

Kelley’s Commander was “convinced” that Kelley was “dangerous and likely to harm

someone if released.” Kelley’s Commander also cited Kelley’s Internet search for body

armor and firearms as further justification for the pretrial confinement. The

Commander concluded that Kelley was a flight risk and ordered him into pretrial

confinement.

  3.23   So, the 49th Security Forces Squadron detained Kelley at Peak and

transported him to the 49th Security Forces Squadron Confinement Facility. Because

Kelley was ordered into pretrial confinement, Air Force policy required the

confinement facility personnel to fingerprint Kelley during the in‑processing into the

confinement facility and to submit those records to the FBI after sentencing. Air

Force agents or employees did not take Kelley’s fingerprints at this time. If

fingerprints were taken, Air Force agents or employees did not retain those

fingerprints as required by policy. Further, if fingerprints were taken, Air Force




                                         24
            Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 25 of 57



agents or employees did not submit fingerprints to the FBI after his sentencing, as

required.


 C.   The Air Force charges and convicts Devin Kelley of domestic
      violence, resulting in his incarceration for a crime punishable by
      more than one year.

  3.24      On June 8, 2012, Air Force investigators interviewed Kelley about Tessa

Kelley’s assault allegations and his Absent without Leave status when he left Peak.

Kelley told them that “something tragic had happened and he wanted to kill himself.”

Kelley also told the agents that he “escaped” from Peak because he was planning to

go to New Braunfels, to plan his suicide. Kelley told agents that he made a confession

video “on his own free will.” Because Air Force Detachment 225 Special Agents were

in possession of Kelley’s confession, conducted a subject interview, and Kelley was

ordered into pretrial confinement, Department of Defense policy required the Special

Agents to collect and submit Kelley’s fingerprints to the FBI. Kelley’s Commander

ordered Kelley into pretrial confinement on June 8, 2012, stating that he had

“reasonable grounds to believe” Kelley assaulted Tessa and her son. In a

memorandum dated June 10, 2012, the Pretrial Confinement Review Officer found

that “adequate probable cause” existed to believe Kelley had assaulted Tessa and her

son. Yet, Air Force failed to collect or submit Kelley’s fingerprints.

  3.25      A Pretrial Confinement Memorandum, dated June 8, 2012, concluded that

Kelley had violated the Uniform Code of Military Justice: Article 86, Date of Offense,

June 7, 2012, Description of Offense, Absence without leave; Article 128, Date of
                                           25
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 26 of 57



Offense June 9, 2011, Description of Offense, Assault on a Child; Article 134, Date of

Offense, April 23, 2012, Description of Offense, Communication of a Threat; and

Article 134, Date of Offense, April 23, 2012, Description of Offense, Assault.

  3.26    On July 10, 2012, the Air Force determined that Devin Kelley should be

confined while awaiting trial because “it is foreseeable that [Kelley] will not appear

for trial and/or will engage in serious criminal misconduct.” As a basis for this

conclusion, the Air Force noted:

             The Evidence shows a serious escalation of behavior
             involving firearms and threats after the physical abuse of
             a child. Particularly alarming is his decision to try to obtain
             another firearm while undergoing inpatient mental health
             care, conducting research on body armor, and then
             escaping from the facility late at night without
             authorization . . . .

             Lesser forms of restraint are inadequate to mitigate the
             flight risk he poses nor would they prevent him from
             carrying out the threats that he has made against others,
             especially given the forethought and planning that he
             showed by attempting to purchase another firearm and his
             escape from the mental health facility.

  3.27    On July 26, 2012, the Air Force charged Kelley with suspected violations of

Article 128 (Assault), against Tessa Kelley and her son. This is a charge of a crime of

domestic violence. On August 2, 2012, an Article 32 hearing was conducted. An

Article 32 hearing is a preliminary hearing that determines whether there is probable

cause to believe an offense has been committed and the accused committed the

offense; determines if the convening authority has court-martial jurisdiction;

                                           26
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 27 of 57



considers the form of charges; and recommends the disposition of the case. The

hearing presented evidence that Kelley had abused Tessa Kelley from June 2011

through April 2012. The medical evidence presented during the hearing indicated her

son suffered severe injuries inflicted by Kelley. The Article 32 Investigating Officer

found reasonable grounds existed to believe that Kelley committed the offenses

alleged.

  3.28     On August 15, 2012, Kelley was also charged with a suspected violation of

Article 128 (Assault) for threatening Tessa Kelley with a firearm. This a crime of

domestic violence and a crime punishable by imprisonment for a term exceeding one

year.

  3.29     On August 27, 2012, charges were referred to court-martial. Kelley

remained in confinement until the court-martial trial on November 6, 2012.

  3.30     On November 3, 2012, trial counsel offered, and the Staff Judge Advocate

presented, Kelley and his defense counsel with an Offer for Pretrial Agreement. The

agreement specified that, in return for Kelley’s plea of guilty to the charges of assault

against his wife and stepson, the firearm charge would be dismissed, and his

confinement would not exceed 3 years. On November 4, 2012, Kelley and his defense

counsel agreed to the terms of this agreement.

  3.31     On November 6, 2012, in accordance with the pretrial agreement, Kelley

pleaded guilty in the General Court-Martial proceedings to assault on his wife and

stepson. On November 7, 2012, the Court-Martial panel sentenced Kelley to a

                                           27
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 28 of 57



reduction in rank to Airman Basic, confinement for 12 months, and a Bad Conduct

Discharge. The plea of guilty to assault on his wife and stepson was a crime of

domestic violence and a crime punishable by imprisonment for a term exceeding one

year. In fact, Kelley’s maximum sentence for the assaults on his wife and stepson

included potential confinement for 5 years and 6 months.

  3.32     The Air Force General Court Martial Order No. 10 specifically noted at the

top of the order that this was a “Crime of Domestic Violence. 18 U.S.C. § 922(g)(9).”

The citation to section 922(g)(9) references the federal law that prevents individuals

convicted of even a misdemeanor crime of domestic violence from possessing a

firearm.

  3.33     On November 7, 2012, after his conviction, Kelley returned to the

Confinement Facility at Holloman. Because his conviction changed his status from

pretrial confinement detainee to post trial inmate, Air Force Corrections System

policy required the confinement facility personnel to collect and submit Kelley’s

fingerprints during his in-processing into the confinement facility. Air Force

employees did not collect, maintain, or submit Kelley’s fingerprints to the FBI. Air

Force agents or employees did not submit a final disposition report of Kelley’s

criminal history to the FBI. Air Force policy requires agents to submit the final

disposition report within fifteen days (15) of Kelley’s sentencing.

  3.34     On December 14, 2012, the Air Force Office of Special Investigations

received a Report and Result of Trial of Devin Kelley. Per policy, the Air Force should

                                          28
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 29 of 57



have reported the final disposition of Devin Kelley’s convictions to the FBI. But it did

not. Instead, the Air Force Special Agent in Charge certified that Kelley’s fingerprints

were submitted to the FBI. This permitted the agent to close the investigation file

when, in fact, the Air Force never collected, maintained, or submitted Devin Kelley’s

fingerprints or final disposition reports to the FBI.

  3.35    On December 18, 2012, Kelley was transferred to and incarcerated at the

Naval Consolidated Brig, Miramar, California, until his release on March 31, 2013.

During his intake evaluation, Naval Consolidated Brig personnel placed Kelley in

separate sleeping quarters from the general population while conducting medical and

psychological assessments of him. Because of the evaluation, Kelley was classified as

a “suicide risk in gown” as well as an “Assault risk – escape risk.”

  3.36    On March 31, 2013, Kelley was released from the Naval Consolidated Brig,

upon completion of his sentence. Between March 31, 2013, and April 2, 2013, Kelley

completed Air Force out‑processing paperwork and was ordered “not to enter or

reenter or be found within the limits of the United States military installation of

Holloman Air Force Base, New Mexico, for an indefinite period.”

  3.37    On December 3, 2013, the Air Force Court of Criminal Appeals affirmed the

findings and sentencing in Kelley’s court-martial. On May 9, 2014, after the

automatic appeals courts upheld Kelley’s conviction and sentence, he was officially

separated from the Air Force with a Bad Conduct Discharge.




                                           29
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 30 of 57



  3.38   On September 30, 2016, Kelley’s former 49th Logistics Readiness Squadron

supervisor received a threatening message from Kelley on Facebook. The message

stated, “Hey you stupid b****. You should have been put in the ground a long time

ago. Better hope I don’t ever see you. You can’t face facts, you fat piece of s***.”

Kelley’s former supervisor said that she had not attempted to contact Kelley before

receiving the message, and that it was unexpected. She stated that she saved Kelley’s

Facebook message as a screenshot and forwarded it to her former Air Force

supervisor. Kelley’s former supervisor also stated that she had considered reporting

this incident to law enforcement and obtaining a restraining order against Kelley,

but decided against it because she felt that he would find out where she lived.


 D.   Kelley commits a mass shooting at the Sutherland Springs First
      Baptist Church on November 5, 2017.

  3.39   On December 22, 2014, Kelley purchased a Glock Model 19, a 9-millimeter,

semi-automatic handgun, from Specialty Sports and Supply, in Colorado Springs,

Colorado. He completed the ATF Forms 4473 and the store completed the required

NICS check on the same day. The response provided was that the sale could proceed.

  3.40   On June 26, 2015, Kelley purchased a Ruger GP100, a .357 Magnum,

revolver handgun, again from Specialty Sports and Supply in Colorado Springs. He

completed the ATF Form 4473 and the store completed the required NICS check on

the same day. The response provided was that the sale could proceed.




                                         30
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 31 of 57



  3.41    On April 7, 2016, Kelley purchased a Ruger AR-556, a 5.56-millimeter,

semi-automatic rifle, from Academy Sports and Outdoors (Store No. 41), in San

Antonio, Texas. He completed the ATF Form 4473, and the store completed the

required NICS check on the same day. The response provided was that Academy

could proceed with the sale.

  3.42    On October 18, 2017, Kelley purchased a Ruger SR22, a .22 caliber,

semiautomatic handgun, from Academy Sports and Outdoors (Store No. 46), in

Selma, Texas. He completed the ATF Form 4473 and the store completed the required

NICS check on the same day. The response provided was that Academy could proceed

with the sale.

  3.43    On four ATF Forms 4473 that Kelley filled out to purchase the firearms

after his conviction, he certified that he had never been convicted of any crime for

which the judge could sentence him for more than 1 year in confinement. One of the

questions on ATF Form 4473 asks, “Have you ever been convicted in any court of a

felony, or any other crime, for which the judge could have imprisoned you for more

than one year, even if you received a shorter sentence including probation.” Kelley

should have answered “yes” to this question.

  3.44    On November 5, 2017, Kelley entered the First Baptist Church of

Sutherland Springs, Sutherland Springs, Texas, and opened fire with three of the

four firearms he had purchased. He killed 26 people and wounded 22 others. After




                                        31
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 32 of 57



being shot by armed citizens who responded to the shooting, Kelley fled from the

church in his automobile. Kelley later died from a self-inflicted gunshot wound.



          IV.    AIR FORCE’S C OMISSIONS & OMISSIONS

 A.   The Air Force missed multiple opportunities to provide Devin
      Kelley’s fingerprint cards and final disposition reports to the FBI

   4.1    On June 9, 2011, the Air Force first missed its opportunity to submit

Kelley’s fingerprint cards to the FBI, when the Office of Special Investigations opened

an investigation into the assault of Kelley’s stepson.

   4.2    Also on June 9, 2011, an Air Force Special Agent wrote an affidavit to the

military magistrate to obtain authority to search Kelley’s on-base residence for

evidence related to Kelley’s alleged assault of his stepson. In the affidavit, the Special

Agent wrote that he believed probable cause existed to search for evidence of child

abuse. On June 17, 2011, a second Special Agent wrote a separate affidavit to a

military magistrate requesting authority to seize certain property from Kelley. In

that affidavit, the agent represented that he or she believed that probable cause

existed to seize the property to determine the source of the victim’s injuries. Even

though Air Force agents believed that probable cause existed, they never submitted

to the FBI the fingerprint cards collected on the June 9th interview. Additionally,

their supervisors did not create a note in the investigative case file stating that the

fingerprint card had been reviewed, as required by Air Force Office of Special



                                           32
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 33 of 57



Investigation Handbook 71-105. Almost certainly, the supervisors failed to certify the

review of the cards because they did not review them.

   4.3    The Air Force Special agents who interviewed Kelley on June 9, 2011 knew

of the Air Force policy requirements to collect and submit fingerprints to the FBI. The

agents were unable to provide any reason why the Air Force failed to submit Kelley’s

fingerprints to the FBI. The Department of Defense Inspector General concluded that

the Special Agents did not follow Department of Defense and Air Force policies

regarding the submission of fingerprints, and that some agents did not understand

the policies. The Inspector General also found confusion among the Special Agents as

to when fingerprints should be submitted to the FBI. The former Special Agent-in-

Charge and Superintendent believed that fingerprints were normally submitted

within 2 days of the subject interview. The case agent stated that at the time of the

Kelley assault investigation, he was not aware that of the requirement for submission

of the fingerprints to the FBI upon a probable cause determination.

   4.4    The second missed opportunity for the Air Force to submit Kelley’s

fingerprints to the FBI occurred on February 17, 2012. The 49th Security Forces

Squadron opened an investigation on Kelley for assaulting Tessa Kelley, after she

told the 49th Security Forces Squadron investigators that Kelley had been physically

abusing her since July 2011. At that time, the investigators should have collected

Kelley’s fingerprints, in accordance with Department of Defense and Air Force policy.

At the time, the Air Force had probable cause to believe that Kelley committed

                                          33
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 34 of 57



assault. The Inspector General concluded that Air Force investigators did not have a

clear understanding of, and did not follow, DoD and USAF policy regarding the

collection and submission of fingerprints.

   4.5    The third missed opportunity for the Air Force to collect and submit Kelley’s

fingerprints to FBI occurred on June 8, 2012, when Air Force Office of Special

Investigations interviewed Kelley immediately after he was placed in pretrial

confinement. Air Force investigators believed that probable cause existed that Kelley

assaulted his stepson based on the evidence collected, including Kelley’s confession

on video. According to records of the interview with Kelley, investigators collected

Kelley’s fingerprints at the end of the subject interview. The Air Force negligently

maintained Devin Kelley’s fingerprints because a review of the case file found no

fingerprint cards within it. Regardless, Air Force agents or employees did not submit

the fingerprint cards to the FBI. So, while Special Agents initialed the block

signifying that they collected Kelley’s fingerprints, there is no evidence that they were

collected and submitted to the FBI.

   4.6    The Inspector General concluded Special Agents did not know or follow

Department of Defense and Air Force policy, and they did not collect and submit

Kelley’s fingerprints to the FBI following his second subject interview on June 8,

2012. The failure to collect or submit the fingerprints occurred, in part, because of the

Special Agent-in-Charge’s practice not submit the fingerprints to the FBI until after

the Detachment received the Report of Result of Trial from the Staff Judge Advocate

                                           34
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 35 of 57



or the Commander’s record of discipline. However, none of the Special Agents could

provide a sufficient or supportable reason why Kelley’s fingerprints were not collected

or submitted following his subject interview.

   4.7    The fourth missed opportunity for the Air Force to submit Kelley’s

fingerprints and the first missed opportunity to submit Kelley’s final disposition

report to the FBI occurred on November 7, 2012, when the Air Force convicted Kelley

by General Court-Martial for assault on Tessa Kelley and his stepson. As noted above,

Air Force Corrections System policy required the confinement facility personnel to

collect an inmate’s fingerprints and submit the fingerprints with final disposition

during in-processing into the confinement facility. As required by Air Force

Instruction 31-205, the 49th Security Forces Squadron Confinement Facility staff

should have included the final disposition on the fingerprint card they collected when

they in-processed Kelley into the confinement facility after his court-martial. That

fingerprint card should have been sent to the FBI with the final disposition report.

   4.8    When the Air Force processed Kelley for post-trial confinement, the Air

Force confinement staff failed to collect Kelley’s fingerprints. The Confinement

Facility personnel did not follow Department of Defense and Air Force policy for

collecting and submitting fingerprints and final disposition reports to the FBI.

Personnel also did not know and were not trained that once fingerprints were

collected, they should be submitted to the FBI. So, even if they had collected Devin

Kelley’s fingerprints and final disposition data, more likely than not, the personnel

                                          35
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 36 of 57



would not have submitted them to the FBI as a proximate result of the lack of training

and supervision.

   4.9    The second missed opportunity for the Air Force to submit Kelley’s final

disposition report to the FBI occurred on December 14, 2012, when the Office of

Special Investigations Detachment 225 Special Agent-in-Charge received the results

of Kelley’s trial and closed the Kelley investigation. The Agent falsely certified in the

Air Force’s database system that the Air Force submitted to the FBI Kelley’s

fingerprints and final disposition reports. Moreover, the investigative case file cover

sheet did not contain a supervisor’s signature or a date to signify that the file was

reviewed for closure, as required by Air Force Office of Special Investigations Manual

71-121.


 B.   Systematic failures in operations, organization, hiring, training,
      and supervision caused the Air Force’s failure to collect, maintain,
      and submit Devin Kelley’s fingerprint cards and final disposition
      reports to the FBI.

  4.10    The Air Force’s failure to collect, maintain, and submit fingerprint cards

and final disposition reports to the FBI was not an isolated error. Instead, this failure

was caused by failures in operations, organization, training, and supervision.

  4.11    For example, the Detachment leadership did not review the file or complete

the Closed Investigative File checklist and the Investigative Information

Management System checklist properly. Instead, the Special Agent-in-Charge

assumed that the case agent had completed the actions necessary and submitted


                                           36
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 37 of 57



Kelley’s fingerprints and final disposition to the FBI. He therefore completed the two

checklists without verifying that the fingerprints and final disposition report had

been submitted to the FBI. If the Agent-in-Charge and Superintendent had included

a review of Kelley’s fingerprints in the leadership review, the fact that the

fingerprints had not been submitted would have been identified.

  4.12    Next, according to Air Force Office of Special Investigations Manual

71‑121, all criminal investigations require monthly supervisory reviews to ensure

that investigators follow policy and that investigations are sufficient and timely. Air

Force leadership conducted 15 supervisory reviews of the Kelley investigation from

June 29, 2011, through October 5, 2012. However, none of the supervisory reviews

that were documented discussed fingerprint card collection or submission. Although

Air Force policy required supervisory reviews to include the investigatory case file,

no such reviews of the case file occurred. Kelley’s fingerprint cards were retained in

the investigative case file. Had they reviewed the case file, more likely than not, they

would have identified that the Air Force had not submitted Kelley’s fingerprints to

the FBI. The monthly supervisory reviews of Kelley’s investigative case file were

incomplete and ineffective in identifying that Kelley’s fingerprint cards remained in

the investigative case file and had not been submitted to the FBI.

  4.13    The high turnover and disorganization in the Office of Special

Investigations contributed to the Air Force’s failure to collect, maintain, and submit

Kelley's fingerprint cards and final disposition reports to the FBI. Between June 2011

                                          37
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 38 of 57



and March 31, 2013, Air Force Office of Special Investigations Detachment 225 had

two Special Agents-in-Charge and three interim Special Agents-in-Charge. The

second interim Agent-in-Charge described the administrative process for closing

cases was a “disaster” as a result of the large backlog of investigative case files

stacked throughout the office. The third interim agent observed approximately 30

cases spread throughout the Detachment office area in various stages of closure, in

terrible condition, with many of the cases missing investigative documentation and

corresponding activities with the agent notes. Air Force assigned a permanent Agent-

in-Charge in December 2011. This agent noticed that staffing challenges and

operations tempo caused the office to be “hell.” The office was severely behind in

closing out old cases and described the unit as a “bottomless pit” that was impossible

to dig out from.

  4.14     The Inspector General determined that the Air Force’s failure to submit

Kelley’s fingerprints was part of a systemic problem with the Office of Special

Investigations Detachment 225. After reviewing 70 closed investigations for

fingerprint card and final disposition report submission to the FBI, the Inspector

General found 8% of cases where investigators did not collect fingerprints; 20% of

cases where investigators collected, but did not submit to the FBI, fingerprint cards;

and 31% of cases where investigators failed to submit to the FBI final disposition

reports.




                                         38
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 39 of 57



  4.15    In 2014, the Inspector General of the Department of Defense evaluated the

reporting system’s compliance with its own mandatory procedures and policies. The

principal finding of this investigation condemned the performance of the Department

of Defense. Specifically, it found that the military was:

              not reporting criminal incident data to the Federal Bureau
              of Investigation (FBI) for inclusion in the annual Uniform
              Crime Reports to the President, the Congress, State
              governments, and officials of localities and institutions
              participating in the Uniform Crime Report Program, as
              required by Federal law.

As a result of this failure:

              10 years of DoD criminal incident data have not been
              provided to the FBI for inclusion in the annual uniform
              crime reports to the President, the Congress, State
              governments, and officials of localities and institutions
              participating in the UCR Program, as implemented in DoD
              Directive 7730.47 and DoD Manual 7730.47‑M, Volume 1.

  4.16    At the time of the Kelley investigation, the Air Force Security Forces Center

was responsible for training, equipping, and organizing all Security Forces for the Air

Force. At the time of the Kelley assault investigation, the Air Force Security Forces

Academy did not train students on fingerprint card collection and submission or on

final disposition report submission procedures. In 2015, the Air Force Security Forces

created fingerprint training as part of the “Annual Home Station Training”

requirements. The 1-hour long lesson plan was designed to be used by individual

Security Forces Squadrons to train personnel on the physical collection of fingerprints

and completion of the fingerprint card. However, the lesson plan does not contain any
                                          39
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 40 of 57



information relating to the submission of fingerprints. Additionally, the lesson plan

did not reference Department of Defense or Air Force policy requirement and did not

specify the conditions under which the fingerprint cards should be submitted nor did

the lesson plan discuss the submission of the final disposition report.

  4.17    The agents working on the Kelley investigation acknowledge the lack of

training. One investigator explained that the only fingerprint training he received

was “on-the-job” and that it related to the collection of fingerprints. Other

investigators could not recall any training on fingerprinting subjects of investigation

and under what circumstances. Neither did the Air Force provide training on an

annual or reoccurring basis. The Inspector General interviewed one officer who

explained that the majority of 49th Security Forces personnel were not familiar with

collecting fingerprints at the time of the Kelley assault investigation.



                           V . CAUSES OF AC TION

 A.   Negligence

   5.1    The Air Force failed to use ordinary care and failed to do that which a

person of ordinary prudence would have done under same or similar circumstances

by failing to collect, maintain, and transmit Devin Kelley’s fingerprints to the FBI, as

described in this Complaint.

   5.2    The Air Force failed to use ordinary care and failed to do that which a

person of ordinary prudence would have done under same or similar circumstances


                                          40
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 41 of 57



by failing to submit Devin Kelley’s final disposition information to the FBI, as

described in this Complaint.

   5.3    The Air Force negligently failed to report criminal incident data to the

Defense Incident-Based Reporting System of Devin Kelley’s criminal conviction of a

crime punishable by imprisonment for a term exceeding one year, convictions of

domestic violence, and commitment to the mental institution.

   5.4    The Air Force failed to submit criminal-history data to the FBI when

probable cause existed in the Air Force Office of Special Investigations and Air Force

Security Forces investigations on Kelley, after Kelley’s court-martial conviction, and

also upon his post-trial confinement at Holloman Air Force Base.

   5.5    The United States, through Secretary of the Air Force Heather Wilson,

admitted the allegations found in Paragraph 5.4 in response to a question by Senator

Mazie K. Hirono in a submission dated December 13, 2017.

   5.6    Alternatively, the Air Force negligently submitted inaccurate or incomplete

criminal incident data to the Defense Incident-Based Reporting System of Devin

Kelley’s criminal conviction of a crime punishable by imprisonment for a term

exceeding one year, convictions of domestic violence, or commitment to the mental

institution.

   5.7    The Air Force negligently failed to correct incomplete or incorrectly

submitted criminal-incident data to the Defense Incident-based Reporting System of

Devin Kelley’s criminal conviction of a crime punishable by imprisonment for a term

                                         41
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 42 of 57



exceeding one year, convictions of domestic violence, or commitment to the mental

institution.

   5.8    The Air Force negligently failed to submit fingerprint cards and final

disposition reports for Devin Kelley’s criminal convictions, or alternatively submitted

incomplete or incorrect data to the FBI as required by federal law. As a result, the

FBI’s Next Generation Identification database lacked critical information about

Devin Kelley’s history and failed to prevent the sale of firearms to Devin Kelley.

   5.9    Findings by the Inspector General confirmed the Air Force Office of Special

Investigations and Security Forces personnel then assigned at Holloman Air Force

Base, New Mexico, did not report required information to civilian law enforcement in

the Kelley case. The review also found the error in the Kelley case was not an isolated

incident and similar reporting lapses occurred at other locations.

  5.10    In fact, the problem was widespread across both the Office of Special

Investigations and the Air Force Security Forces. A 2015 Defense Department audit

revealed that the Air Force was not in compliance with a mandatory statutory

requirement to report all offender criminal history data and, despite the discovery of

non-compliance, the Air Force made no retroactive corrections.

  5.11    The Air Force admitted the allegations contained in Paragraph 5.9 in a

press release published on November 28, 2017. The Air Force, through the Secretary

of the Air Force Heather Wilson, admitted the allegations contained in




                                          42
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 43 of 57



Paragraph 5.10 on December 6, 2017 before the United States Senate Judiciary

Committee.

  5.12    The Department of Defense negligently failed to ensure that the Air Force

submitted the required criminal incident, fingerprint cards, and final disposition

data.

  5.13    The Department of Defense negligently failed to ensure that identified

criminal incident data errors are tracked to correction.

  5.14    The Department of Defense negligently failed to populate data about Devin

Kelley’s criminal conviction of a crime punishable by imprisonment for a term

exceeding one year, convictions of domestic violence, and commitment to the mental

institution from the Defense Incident-Based Reporting System into the FBI’s

National Incident-Based System.


 B.     Negligent Failure to Train & Supervise

  5.15    The United States and its agencies have an obligation to adequately train

and supervise employees. The Air Force’s failure to collect, maintain, and submit

fingerprint cards and final disposition reports to the FBI was not an isolated error.

Instead, this failure was caused by failures in operations, organization, training, and

supervision, as described in this Complaint.

  5.16    The United States, through its agencies, failed to adequate supervise the

individuals who were tasked with the collection, maintenance, and submission of

Devin Kelley’s fingerprints and final disposition reports to the FBI or the DOD’s

                                          43
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 44 of 57



DIBRS database. Had they adequately supervised the collection of fingerprints, they

would have noticed that in some instances, their employees did not collect

fingerprints. They would have noticed in other instances; their employees did not

maintain fingerprint cards in the case file. And they would have noticed that at no

point, did their employees submit Devin Kelley’s fingerprint cards or final disposition

reports to the FBI for inclusion in the National Instant Criminal Background Check

System.

  5.17    The United States Air Force at no point between 2009 and 2013 trained its

employees to collect, maintain, and submit fingerprint cards and final disposition

reports to the FBI for inclusion in the National Instant Criminal Background Check

System. Nor did the Air Force put in place a system that verified if the required

reporting had occurred, which it had not.

  5.18    These failures by the Air Force and Department of Department of Defense

to train and supervise its reporting personnel led to its employees failing to submit

reports and data to both the DIBRS and FBI about Devin Kelley. Thus, the United

States is liable for negligent training and negligent supervision.


 C.   Negligent Undertaking

  5.19    The United States Congress voluntarily undertook the creation of a

national instant background check system upon passage of the Brady Bill. To

implement this system, the Department of Justice created the National Instant

Criminal Background Check System. The Department of Defense and Air Force

                                          44
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 45 of 57



implemented policies, procedures, manuals, and instructions—and acted under the

color of these regulations—regarding the reporting of individuals who received

convictions for domestic violence, incarceration for a crime punishable by more than

one year, and mental institution commitment. These policies and procedures included

the collection, maintenance, and reporting of fingerprint cards of those disqualified

individuals.

  5.20   The United States, through its agencies, voluntarily undertook the training

and supervision of its employees responsible for the collection, maintenance, and

submission of fingerprint cards and final disposition reports to the FBI.

  5.21   The United States, through its agencies, voluntarily undertook the

correction of inaccurate or incomplete submissions to FBI’s National Instant

Criminal Background Check System. On multiple occasions, the Department of

Defense’s Inspector General alerted the United States and its agencies to its

negligent failure to collect, maintain, and submit fingerprint cards and final

disposition data to the FBI. The Air Force agreed with the Inspector General’s

recommendations and agreed to take corrective action.

  5.22   The United States, through Congress and its agencies, rendered these

services because Congress and the agencies recognized that they were necessary for

the protection of individuals like the Plaintiffs. To limit this violence, Congress

disqualifies certain people from buying, owning, or possessing guns and established

a national background check system to prevent these people from obtaining guns. In

                                         45
             Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 46 of 57



fact, when asked the question, “[W]ho do you believe is the beneficiary of the Brady

Act? Who do you think Congress was trying to protect?” Thomas Ward, Deputy

Assistant Attorney General for the United States responded, “All of us. Three

hundred and sixty-five million Americans.”7 Mr. Ward told the truth when he stated

the Brady Act was intended to protect all Americans.

     5.23    The failure to use reasonable care increases the risk that individuals like

Devin Kelley obtain firearms when they are prohibited by law from obtaining such

firearms. In fact, the foreseeable and proximate result of the failure to use reasonable

care is that individuals like Devin Kelley will pass the background check when

obtaining firearms for the use of mass murders, like the one he committed in

Sutherland Springs. What’s more, the United States, through its agencies, knew of

the specific increase of risk posed by Devin Kelley if the United States failed to

exercise reasonable care in its undertaking because the United States knew of Devin

Kelley’s conduct between 2009 and 2013, as detailed in this Complaint and in the

Department of Defense Inspector General’s investigation of the matter.

     5.24    The United States, through its agencies, negligently failed to: (a) collect,

maintain, and transmit Devin Kelley’s fingerprint cards to the FBI and DOD DIBRS;

(b) submit Devin Kelley’s final disposition report to the FBI and DOD DIBRS;

(c) train and supervise its employees and agents with regard to the collection,




7   Sanders v. United States, No. 18-1931 (4th Cir. May 7, 2019) (Oral Argument).
                                              46
             Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 47 of 57



maintenance, and transmission of fingerprint cards to the FBI and DOD DIBRS; (d)

train and supervise its employees and agents with regard to the submission of final

disposition reports to the FBI and DOD DIBRS; and (c) take corrective action multiple

times when alerted to this negligence.


    D.   Negligence Per Se8

    5.25    Under Texas law, a negligence per se cause of action has three elements: (1)

a legal duty, (2) a breach of that duty, and (3) damages proximately caused by the

breach. Praesel v. Johnson, 967 S.W.2d 391, 394 (Tex. 1998).

    5.26    Defendant’s violations of federal law breached their duty to collect, process,

and submit Kelley’s information to the national background-check system.9




8    Plaintiffs appreciate that on May 23, 2019, the Court dismissed the negligence per se
     claims in Case 5:18:cv-00555-XR and several other consolidated civil actions arising from
     the mass shooting in Sutherland Springs, Texas that gives rise to this civil action. In
     reviewing the briefing and the Court’s order, Plaintiffs believe the issues surrounding this
     claim have been ably and comprehensively briefed for the Court and that the Court has
     thoroughly analyzed these issues and reached a reasoned conclusion. Nevertheless,
     Plaintiffs respectfully disagree with the Court’s conclusion and include this claim in order
     to reserve the right to appeal the Court’s decision to dismiss this claim. If the Court is
     amenable to reconsidering dismissal of this claim, Plaintiffs would be happy to submit
     additional briefing to the Court. Otherwise, Plaintiffs incorporate by reference the briefs
     that have been submitted to the Court on the negligence per se claim and reserve the right
     to appeal the dismissal of this claim.
9    See Wal-Mart v. Tamez, 960 S.W.2d 125, 127–28 (Tex. App.—Corpus Christi 1997, pet.
     denied) (recognizing that under Texas law, a violation of 18 U.S.C. § 922 is negligence per
     se.); Bryant v. Winn-Dixie Stores, 786 S.W.2d 547, 549 (Tex. App.—Fort Worth 1990, writ
     denied) (same); Peek v. Oshman’s Sporting Goods, 768 S.W.2d 841 (Tex. App.—San

                                               47
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 48 of 57



  5.27   Under Texas law, Defendant’s failures to report Kelley’s information violate

a clearly-defined standard of conduct.



                                VI.    CAUSATION

 A.   The Department of Defense and Air Force’s negligence caused
      injuries to the Plaintiffs.

   6.1   One or more of the above negligent acts of the Air Force and the Department

of the Defense directly and proximately caused injury to the Plaintiffs.

   6.2   When Devin Kelley attempted to purchase firearms to use in the

Sutherland Springs shooting, the FBI Incident-Based Reporting System should have

included Devin Kelley’s criminal conviction of a crime punishable by imprisonment

for a term exceeding one year, convictions of domestic violence, and commitment to

the mental institution. The FBI’s database did not contain any of this required

information, or alternatively, contained incorrect or incomplete information, as a

direct and proximate result of one or more of negligent acts of the Department of

Defense and Air Force.

   6.3   When Devin Kelley attempted to purchase firearms to use in the

Sutherland Springs shooting, the FBI’s National Instant Criminal Background

Search System should have contained Devin Kelley’s criminal history, populated from




   Antonio 1989, writ denied) (same); Ellsworth v. Bishop Jewelry and Loan Co., 742 S.W.2d
   533, 535 (Tex. App.—Dallas 1987, no writ) (same).
                                           48
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 49 of 57



the FBI’s Next Generation Identification (or the Interstate Identification Index)

system. The FBI’s National Instant Criminal Background Search System should have

contained Devin Kelley’s criminal history populated by submission of his final

disposition report from the Air Force. However, because of the Government’s

negligence, Kelley’s fingerprint identification and criminal disposition reports were

not submitted to the FBI and the FBI’s Background Check System did not

disqualifying information on Devin Kelley.

   6.4   As a result of one or more of the above acts of negligence, when Academy

requested the FBI search its National Instant Criminal Background Search System

to determine whether it could sell firearms to Devin Kelley, the FBI notified Academy

to “proceed” with the sale. But for the United States’ negligence, there would have

been prohibiting information within the FBI’s Background Search System. And but

for the United States’ negligence, the FBI would have notified Academy that the sale

should be “denied.”

   6.5   When Devin Kelley attempted to purchase the firearms used in the

Sutherland Springs shooting, the sale should have been blocked for one or more of

the following reasons: (a) he had a conviction of a crime punishable by imprisonment

for a term exceeding one year; (b) he had a conviction for domestic violence; and (c)

he had previously been committed to a mental institution.

   6.6   When Devin Kelley purchased the firearms used in the Sutherland Springs

shooting, his omission from the FBI’s background check system and ability to

                                         49
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 50 of 57



complete the purchase was a direct, proximate, and foreseeable result of one or more

acts of negligence of the Department of Defense and Air Force.


 B.   Had the Air Force reported Kelley’s history, the FBI’s Instant
      Criminal Background Check System would have blocked Devin
      Kelley’s firearm purchase.

   6.7    Devin Kelley purchased the firearms used in the Sutherland Springs

shooting from a federal firearms licensee, Academy Sports & Outdoor. At the time,

the licensee must submit biographical information about Kelley to the FBI’s Instant

Criminal Background Check System. If the Air Force had properly reported Devin

Kelley’s fingerprint cards and history to the FBI, the Background Check System

would have informed the firearms dealer to deny the purchase.

   6.8    The purpose of the Uniform Federal Crime Reporting Act of 1988, the Brady

Handgun Violence Prevention Act, and the Domestic Violence Offender Gun Ban are

to ensure that violent offenders and high-risk individuals like Kelley do not get access

to firearms. The Department of Defense in 1994 began designing the Defense

Incident-Based Reporting System (DIBRS) to meet criminal justice related reporting

requirements mandated by the Uniform Federal Crime Reporting Act and the Brady

Handgun Violence Prevention Act. The DIBRS permits the DOD to forward offense

and arrest information required by FBI.

   6.9    The entry into the federal law-enforcement database would have blocked

Mr. Kelley’s purchase of the firearms used in the Sutherland Springs’ shooting. The

Government’s acts or omissions directly and proximately resulted in Devin Kelley’s
                                          50
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 51 of 57



purchase of the firearms used in the November 5, 2017 Sutherland Springs First

Baptist Church shooting.



                                VII. DAMAGES

   7.1    Devin Kelley used the guns he purchased at Academy Sports & Outdoor to

kill twenty-six individuals and injure twenty others on November 5, 2017. Plaintiffs

seek damages based on the physical and mental trauma they have suffered because

of this shooting.

   7.2    Just minutes into the morning church service, Joann, her four children, and

the small congregation of First Baptist Church were under siege. Praise and worship

songs which had filled the air were interrupted by rapid gunfire. The Church was

being attacked.

   7.3    Bullets sprayed through the wooden walls of the tiny church, shattering

windows and puncturing holes in the wooden floors. Startled and confused, the

congregants soon saw a man dressed in black tactical gear storm in, cursing

“Everybody is gonna f***ing die!” His face was covered by a mask with a white skull.

As soon as shots rang out, Joann shoved her oldest daughter, R.G., out of the way—

to hide—and Joann fell on top of her three youngest children, trying to protect her

babies from the hail of bullets filling the Church. R.G.’s eyeglasses would be hit—

blown off her face as she fell and crawled underneath a pew seeking cover.




                                         51
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 52 of 57



   7.4    The shooter stalked the room—determined to kill everyone in it. When he

saw Joann, shielding her young children, he aimed at her—intent on killing her and

anyone she was protecting. When the gunfire ceased and Devin Kelley ran, nearly

half of the congregation had been killed, including Joann and two of her daughters—

E.G. and B.W.

   7.5    Joann’s stepson, R.W., had been shot five times. His stomach and groin

were pierced, damaging his bladder and kidney; the five-year old’s arm was so

mutilated by bullets it was nearly amputated. Over a month later, R.W. remained

hospitalized with several additional surgeries remaining. His shattered femur isn’t

healing as well as hoped and the young boy’s kidneys continue to struggle.

   7.6    Based on the trauma Plaintiffs have suffered, Plaintiffs seek recovery of all

damages to they are entitled to recover pursuant to state and federal law including,

but not limited to, the following:

          a) Past and future physical pain & suffering;
          b) Past and future mental anguish;
          c) Conscious physical pain experienced by decedents prior to their
             untimely deaths;
          d) Conscious emotional pain, torment, and suffering experienced by
             decedents prior to their untimely deaths;
          e) Past and future medical, healthcare, and attendant care expenses;
          f) Past and future physical impairment;
          g) Past and future physical disfigurement;
          h) Past and future lost income and loss of earning capacity;
          i) Past and future loss of companionship and society;


                                          52
           Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 53 of 57



          j) Past and future loss of care, maintenance, support, services, advice,
             counsel, and reasonable contributions of pecuniary value;
          k) Loss of inheritance;
          l) Out of pocket expenses;
          m) Funeral and burial expenses; and
          n) Other pecuniary damages.

              VIII. JURISDICTION, VENUE, & SERVICE

   8.1    This Federal District Court has federal-question jurisdiction of this action

because this action is brought pursuant to and in compliance with 28 U.S.C. §§

1346(b), 2671–2680, commonly known as the Federal Tort Claims Act.

   8.2    Venue is proper in this district pursuant to 28 U.S.C. § 3191(e)(1) because

the United States is a defendant, Plaintiffs resides in this district, and no real

property is involved in the action.

   8.3    The United States of America may be served with process in accordance

with Rule 4(1) of the Federal Rules of Civil Procedure. Service is affected by serving

a copy of the Summons and Complaint on the United States Attorney John F. Bash,

United States Attorney for the Western District of Texas by certified mail, return

receipt requested at his office:




                                         53
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 54 of 57



                      United States Attorney’s Office
                      ATTN: Civil Process Clerk
                      601 NW Loop 410, Suite 600
                      San Antonio, Texas 78216

   8.4    Service is also affected by serving a copy of the Summons and Complaint on

William Barr, Attorney General of the United States, by certified mail, return receipt

requested at:

                      United States Attorney General’s Office
                      ATTN: Civil Process Clerk
                      950 Pennsylvania Avenue, NW
                      Washington, DC 20530-0001

                IX.   LIABILIT Y OF THE UNI TED S TATES

   9.1    This case is commenced and prosecuted against the United States of

America to and in compliance with Title 28 U.S.C. §§ 2671-80, the Federal Tort

Claims Act. Liability of the United States is predicated specifically on 28 U.S.C.

§ 2674 because the personal injuries and resulting damages of which the Complaint

is made were proximately caused by the negligence, wrongful acts or omissions of

employees or agents of the United States of America working for the United States

Air Force or Department of Defense, while acting within the scope of their office,

employment, or agency under circumstances where the United States of America, if

a private person, would be liable to the Plaintiffs in the same manner and to the same

extent as a private individual.

   9.2    The United States Departments of Defense and Air Force are agencies of

the United States. The Defendant, the United States of America, through its

                                           54
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 55 of 57



agencies, at all times material to this lawsuit, owned and operated Holloman Air

Force Base and staffed its facilities and vehicles with its agents, servants and

employees. The Defendant, the United States of America, through its agencies, at all

times material to this lawsuit, owned and operated the Defense Manpower Data

Center, which operates the Defense Incident-Based Reporting System.

   9.3    The United States, through its agency, the Air Force, at all times material

to this lawsuit and at all times described in this lawsuit, owned and operated the

following and staffed it with its agents, employees, or representatives:

          •   Air Force Security Forces;
          •   Air Force Security Forces Center;
          •   Air Force Security Forces Academy;
          •   Air Force Office of Special Investigations Detachment 225;
          •   49th Security Forces Squadron;
          •   Holloman Air Force Base Mental Health Clinic;
          •   49th Logistics Readiness Squadron; and
          •   49th Security Forces Squadron Confinement Facility.

   9.4    This lawsuit is not a claim listed in 28 U.S.C. § 2680, exceptions to the

Federal Tort Claims Act.



                  X. JURISDICTION AL ALLEGATIO NS

  10.1    Pursuant to 28 U.S.C. §§ 2672 and 2675(a), the claims set forth here were

filed with and presented administratively to the United States of America. The

United States Air Force acknowledge receipt on January 18, 2018, stating that it had

received Plaintiffs’ claims on January 14, 2018. Each claim stated a “sum certain.”



                                          55
          Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 56 of 57



  10.2   The United States failed to make final disposition of this claim within six

(6) months of presentation of their claims. This action was filed greater than six (6)

months from the presentation of the claims underlying the lawsuit.

  10.3   Accordingly, Plaintiffs have complied with all jurisdictional prerequisites

and conditions precedent to the commencement and prosecution of this lawsuit.



                             XI.    CONCLUSION

      Plaintiffs request that Defendant be cited to appear and answer this Complaint

and that upon final trial, Plaintiffs have judgment against Defendant for the amount

of actual damages and for other and different amounts as they shall show by proper

amendment before trial, for post-judgment interest at the applicable legal rate, for

all court costs incurred in this litigation, and for such other relief, at law and in

equity, both general and special, to which Plaintiffs may show themselves entitled to

and to which the Court believes them deserving.



                                       Respectfully Submitted,

                                       THE WEBSTER LAW FIRM

                                       By: /s/ Jason C. Webster
                                       JASON C. WEBSTER
                                       State Bar No. 24033318
                                       6200 Savoy, Suite 150
                                       Houston, TX 77036
                                       (713) 581-3900 (telephone)
                                       (713) 581-3907 (telecopier)
                                       filing@thewebsterlawfirm.com

                                         56
Case 5:19-cv-00706 Document 1 Filed 06/18/19 Page 57 of 57



                          &

                          THE HERRERA LAW FIRM
                          Frank Herrera, Jr.
                          State Bar No. 09531000
                          Jorge A. Herrera
                          State Bar No.24044242
                          111 Soledad St., 19th Floor
                          San Antonio, Texas 78205
                          210-224-1054
                          jherrera@herreralaw.com

                          ATTORNEYS FOR PLAINTIFFS
                          DALIA LOOKINGBILL, INDIVIDUALLY
                          AND AS GUAR DIAN OF T HE
                          PER S ON AND ES TATE OF R.T., A
                          MINOR AND AS REPRESENTATIVE OF
                          THE ESTATE OF E.G., DECEASE
                          MINOR




                              57
